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4    Attorney for Brenda Deshields
5

6                                IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                       )   Case No.: 2:10 CR 00299 EJG
9    UNITED STATES OF AMERICA,                         )
                                                       )   STIPULATION AND ORDER TO EXTEND
10                  Plaintiff,                         )   TIME FOR HEARING AND TO EXCLUDE
                                                       )   TIME
11          vs.                                        )
                                                       )
12   BRENDA DESHIELDS,                                 )
                                                       )
13                  Defendant                          )
14          The parties agree that time beginning March 16, 2012 and extending through April 20,

15   2012 should be excluded from the calculation of time under the Speedy Trial Act. (T-2 and T-4).

16   The parties submit that the ends of justice are served by the Court excluding such time, so that

17   counsel for the defendant may have reasonable time necessary for effective preparation, taking

18   into account the exercise of due diligence, and so that the defendant may have continuity of

19   counsel. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties stipulate and agree that the interests of

20   justice served by granting this continuance outweigh the best interests of the public and the

21   defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).

22          More time is needed to conduct further plea negotiations.

23          The parties further request that this matter be taken off the March 16, 2012, calendar and

24   be rescheduled to April 20, 2012 at 10:00 a.m..

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                                   STIP AND ORDER TO EXTEND TIME - 1
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2                                   Respectfully submitted,

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     Date: 3-14-12                                       By: /s/ Danny D. Brace, Jr.,
4                                                        DANNY D. BRACE, JR.,
                                                         Attorney for
5
                                                         Brenda Deshields
6

7
     Date: 3-14-12                                       By:/s/ Daniel McConkie
8                                                        Authorized to sign for Mr.
                                                         McConkie
9                                                        On March 14, 2012
                                                         DANIEL MCCONKIE
10                                                       Assistant U.S. Attorney
11

12
     IT IS SO ORDERED:
13
     Dated: March 15, 2012

14   /s/ Edward J. Garcia
     HON. EDWARD J. GARCIA
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                             STIP AND ORDER TO EXTEND TIME - 2
